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                                                          TRANSCRIPT PURCHASE ORDER
                                                            for Third Circuit Court of Appeals

           District Court      New Jersey                                                  Court of Appeals Docket No.       25-1578
                                                                                           District Court Docket No.         1:24-cv-04390

       Short Case Title Atlas Data Privacy Corporation v. Fortnoff Financial, LLC

       Date Notice of Appeal Filed by Clerk of District Court March 28, 2025

  Part I. (To be completed by party responsible for ordering transcript)                             NOTE: A SEPARATE FORM IS TO BE TYPED FOR
  A.    Check one of the following and serve ALL COPIES:                                             EACH COURT REPORTER IN THIS CASE.

            TRANSCRIPT:
                  None                               X          Unnecessary for appeal purposes.
                  Already on file in the District Court Clerk's office.
                      This is to order a transcript of the proceedings heard on the date listed below from                                       (Court Reporter)
           (Specify on lines below exact date of proceedings to be transcribed). If requesting only partial transcript of the proceedings, specify exactly what
           portion or what witness testimony is desired.




            If proceeding to be transcribed was a trial, also check any appropriate box below for special requests; otherwise, this material will NOT be
            included in the trial transcripts.

                       Voir dire                                           Open Statement of Plaintiff                         Opening Statement of Defendant
                       Closing Argument of Plaintiff                       Closing Argument of Defendant
                       Jury Instructions                                   Sentencing Hearings

           FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED OR FAILURE TO
           MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS FOR TRANSCRIPT ARE GROUNDS FOR
           DISMISSAL OF THE APPEAL OR IMPOSITION OF SANCTIONS

  B.        This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript.
            The method of payment will be:

                       CJA Form submitted to District Court Judge                             Motion for Transcript has been submitted to District Court
                       CJA Form submitted to Court of Appeals                                 Private Funds


  Signature
                   /s/ J. Timothy McDonald                                             Date              4/15/2025
  Print Name       J. Timothy McDonald                                                 Counsel for       Fortnoff Financial, LLC
  Address
                   3560 Lenox Rd NE, Suite 1600, Atlanta, GA 30326
                                                                                       Telephone         (404) 407-3623
? Hy
  Part II.       COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of
                 Appeals on the same day transcript order is received.)
               Date transcript order        Estimated completion date; if not within 30 days of date financial arrangements        Estimated number
                     received                        made, motion for extension to be made to Court of Appeals                         of pages



                                                          Arrangements for payment were made on

                                                          Arrangements for payment have not been made pursuant to FRAP 10(b)


                                Date                                      Name of Court Report                                          Telephone

  Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by court reporter
                 on date of filing transcript in District. Court Notification must be forwarded to the Court of Appeals on the same date.)

                       Actual Number of Pages                                          Actual Number of Volumes


                                Date                                                                          Signature of Court Reporter
